       CASE 0:12-cv-03031-PAM-JJK Document 76 Filed 07/20/15 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Jonathon Ziesmer,
                                            Case No: 0:12-cv-03031-PAM-JJK
                  Plaintiff,

v.                                             PLAINTIFF’S MOTIONS IN
                                                      LIMINE
Derrick Lee Hagen, individually
and in his professional capacity as
a Minnesota State Patrol Officer,

                 Defendants.

      __________________________________________________________________

To:     Defendant and his attorney, Kathryn Fodness, Office of Attorney General of
        Minnesota, 445 Minnesota Street, Suite 1100, St. Paul, MN 55101

        PLEASE TAKE NOTICE that Plaintiff hereby moves the Court for an Order

excluding any testimony, documentary evidence, information, allegations, or argument

regarding Plaintiff’s application and proceedings for disability benefits, employment

status, Trooper Hagen’s Commendations, and Travis Jones’ Petty Misdemeanor Criminal

Conviction and events surrounding his criminal conviction.

Dated: July 20, 2015                            s/Christopher J. Kuhlman
                                                Christopher J. Kuhlman
                                                MN Bar No. 0386840
                                                ATTORNEY FOR PLAINTIFF
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